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            15                              UNITED STATES DISTRICT COURT

            16                             NORTHERN DISTRICT OF CALIFORNIA

            17                                 SAN FRANCISCO DIVISION

            18

            19   ORACLE AMERICA, INC.,                        Case No. 3:10-cv-03561-WHA

            20                                   Plaintiff,   DECLARATION OF REID MULLEN IN
                                                              SUPPORT OF ORACLE AMERICA,
            21          v.                                    INC.’S ADMINISTRATIVE MOTION TO
                                                              FILE DOCUMENTS UNDER SEAL (DKT.
            22   GOOGLE INC.,                                 NO. 571)

            23                                 Defendant.     Judge:     Hon. William Alsup

            24                                                Date Comp. Filed:   October 27, 2010

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588086.01              DECLARATION OF REID MULLEN IN SUPPORT OF ADMINISTRATIVE MOTION TO SEAL
                                              CASE NO. 3:10-cv-03561-WHA
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             1          I, Reid Mullen, declare as follows:

             2          1.      I am an associate in the law firm of Keker & Van Nest LLP, counsel to Google

             3   Inc. (“Google”) in the present case. I submit this declaration in support of Oracle America Inc.’s

             4   (“Oracle”) Administrative Motion to File Under Seal Portions of Oracle’s Responsive

             5   Supplemental Brief in Opposition to Google’s Motion in Limine No. 3 to Exclude Portions of

             6   Cockburn Report on Damages (Dkt. No. 571). I have knowledge of the facts set forth herein,

             7   and if called to testify as a witness thereto could do so competently under oath.

             8          2.      Oracle moves to file under seal the following documents, which I have reviewed:

             9                 Exhibits A, C-F, H, J, L, and M to the Declaration of Meredith Dearborn in
                                Support of Oracle’s Responsive Supplemental Brief in Opposition to Google’s
            10                  Motion in Limine No. 3 to Exclude Portions of Cockburn Report on Damages
                                (Dkt. No. 573) (“Dearborn Decl.”); and
            11
                               Portions of Oracle’s Responsive Supplemental Brief in Opposition to Google’s
            12                  Motion in Limine No. 3 to Exclude Portions of Cockburn Report on Damages
                                (Dkt. No. 572) (“Oracle’s Responsive Brief”).
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                        3.      Exhibit J to the Dearborn Decl. (Dkt. No. 573) is an excerpt from the Expert
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                 Report of Dr. Gregory K. Leonard (“the Leonard Report”). The Court previously has granted a
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                 request to file the Leonard Report under seal (Dkt. No. 583). The Leonard Report contains
            16
                 information that has been designated HIGHLY CONFIDENTIAL – ATTORNEY’S EYES
            17
                 ONLY pursuant to the stipulated protective order in this case. The report and the underlying
            18
                 documents contain Google’s sensitive, non-public financial data, such as costs, revenues, and
            19
                 profits associated with Android. The report and underlying documents also contain non-public
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                 information about Google’s consideration of and potential financial impact from alternatives to
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                 the intellectual property at issue in this lawsuit. Additionally, the report contains non-public
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                 information about licensing arrangements with third-parties, which are protected by
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                 confidentiality clauses with those third-parties. Google does not make this information available
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                 to the public. Public disclosure of this confidential information would cause great and undue
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                 harm to Google, and place it at a competitive disadvantage.
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                        4.      Exhibit M to the Dearborn Decl. (Dkt. No. 573) contains the personal cell phone
            27
                 number of Andrew Rubin. The Court previously has granted a request to file a redacted version
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             1   of this document in the public record. (Dkt. No. 459). Mr. Rubin does not share his cell phone

             2   number publicly during the ordinary course of business, and public disclosure of this information

             3   would cause undue harm. Exhibit M to the Dearborn Decl. should therefore be sealed, and a

             4   redacted version with the phone number obscured should be re-filed in the public record.

             5          5.     Google does not request sealing of Exhibits A, C-F, H or L, of the Dearborn Decl.

             6   (Dkt. No. 573). Nor does Google request sealing of the redacted portions of Oracle’s

             7   Responsive Brief (Dkt. No. 572).

             8

             9          I declare under penalty of perjury that the foregoing is true and correct and that this

            10   declaration was executed at San Francisco, California on November 3, 2011.

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            12                                                        By: /s/ Reid Mullen
                                                                          REID MULLEN
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588086.01              DECLARATION OF REID MULLEN IN SUPPORT OF ADMINISTRATIVE MOTION TO SEAL
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